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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    MATTHEW C. BOCKMON, #161566
     Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, CA 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    JOHN CORCORAN
7
                                      IN THE UNITED STATES DISTRICT COURT
8
                                   FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                      )   Case No. 08-cr-093 KJM
                                                    )            08-cr-116 KJM
11                               Plaintiff,         )
                                                    )   APPLICATION FOR TRANSPORTATION
12          v.                                      )   ORDER; [PROPOSED] ORDER FOR
                                                    )   TRANSPORTATION PURSUANT TO 18
13   JOHN CORCORAN,                                 )   U.S.C. §4285
                                                    )
14                               Defendant.         )
                                                    )
15
16            Defendant JOHN CORCORAN by and through his counsel, Matthew C. Bockmon,
17   Assistant Federal Defender, hereby applies to this Court for an order of subsistence allowance.
18   Mr. Corcoran is indigent and has been appointed counsel. Mr. Corcoran is scheduled to appear

19   on February 25, 2015 for Judgment and Sentencing at 9:00 a.m.

20            Mr. Corcoran resides in Victorville, California. Mr. Corcoran plans to travel during the

21   early morning of February 25, 2015 to meet and confer with his attorney and then appear in this

22   Court on Wednesday, February 25, 2015. He cannot afford travel, lodging and other subsistence
     to enable him to attend his scheduled hearing before the Honorable Kimberly J. Mueller.
23
              In the interests of justice the Court is requested to arrange for John Corcoran’s means of
24
     non-custodial transportation or furnish the fare for such transportation to the place where his
25
     appearance is required; and in addition to direct the United States Marshal to furnish John
26
27
      Application for Transportation Order              -1-                                  08-cr-093 KJM
28                                                                                           08-cr-116 KJM
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1    Corcoran with an amount of money for subsistence expenses, not to exceed the amount
2    authorized as a per diem allowance for travel under Title 5 U.S.C. Section 4285 pursuant to 18

3    U.S.C. §4285.

4    DATED: February 20, 2015
                                                   Respectfully submitted,
5
                                                   HEATHER E. WILLIAMS
6                                                  Federal Defender
7
                                                   /s/ Matthew C. Bockmon
8                                                  MATTHEW C. BOCKMON
                                                   Assistant Federal Defender
9                                                  Attorney for JOHN CORCORAN
10
                                                 ORDER
11
              GOOD CAUSE APPEARING, AND IN THE INTERESTS OF JUSTICE IT IS
12
     ORDERED THAT the United States Marshal for the Eastern District of California is authorized
13
     and directed to furnish the above-named defendant, John Corcoran, with round-trip
14
     transportation from Ontario, California to Sacramento, California on February 25, 2015, for Mr.
15
     Corcoran to appear for Judgment and Sentencing before the Honorable Kimberly J. Mueller on
16
     February 25, 2015 at 9:00 a.m.; and subsistence not to exceed the amount authorized as a per
17
     diem allowance for travel under Title 5 U.S.C. §5702(a).
18
              Mr. Corcoran is indigent and financially unable to travel to Sacramento, California and
19
     return to Ontario, California without transportation expenses. This request is authorized pursuant
20
     to 18 U.S.C. §4285.
21
22   Dated: February 20, 2015
                                                      _____________________________________
23                                                    CAROLYN K. DELANEY
                                                      UNITED STATES MAGISTRATE JUDGE
24
25
26
27
      Application for Transportation Order           -2-                                     08-cr-093 KJM
28                                                                                           08-cr-116 KJM
